               Case 2:12-cr-00315-JAM Document 342 Filed 12/21/15 Page 1 of 1


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 8                                 IN THE UNITED STATES DISTRICT COURT

 9                                   EASTERN DISTRICT OF CALIFORNIA

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11   UNITED STATES OF AMERICA,                         ) CASE NO. 2:12-CR-0315 JAM
                                                       )
12                                  Plaintiff,         ) ORDER ALLOWING DEPOSITIONS PURSUANT
                                                       )           TO FED. R. CRIM. P. 15(h)
13                            v.                       )
                                                       )
14   LEE LOOMIS,                                       )
                                                       )
15                                                     )
                                    Defendant.         )
16                                                     )
                                                       )
17                                                     )

18
              The United States has submitted a request to take the deposition of Idella Jobe under Fed. R.
19
     Crim. P. 15(h). The defendant has agreed to the taking of the deposition. The Court consents to the
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     government taking and using the deposition of the witness at trial. The Court accepts the defendant’s
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     waiver of his personal presence at the deposition. Pursuant to Fed. R. Crim. P. 15(d), the government
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     shall pay any reasonable travel and subsistence expenses of the defendant’s attorneys to attend the
23
     deposition.
24
              IT IS SO ORDERED.
25

26                                                          /s/ John A. Mendez
     Dated:    12/21/2015
27                                                          JOHN A. MENDEZ
                                                            United States District Court Judge
28
